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                Exhibit A
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 1   Angela M. Alioto. Esq. (SBN 130328)
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 2                                                                               ELECTRONICALLY
     Joe Alioto Veronese, Esq. (SBN 214607)
     LAW OFFICES OF JOSEPH L. ALIOTO                                                 FILED
 3                                                                               Superior Court of California,
     AND ANGELA ALIOTO                                                            County of San Francisco

 4   700 Montgomery Street                                                           12/27/2021
     San Francisco, CA 94111                                                      Clerk of the Court
                                                                                    BY: KAREN VALDES
 5   Telephone: (415) 434-8700                                                                Deputy Clerk

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 9
     Attorneys for Plaintiff STEPHENS INSTITUTE
10
                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
11
                                     COUNTY OF SAN FRANCISCO
12                                                                                     CGC-21-597326
13   STEPHENS INSTITUTE d/b/a              ) CASE No.
     ACADEMY OF ART UNIVERSITY,            )
14                                         ) COMPLAINT FOR:
15         Plaintiff,                      )   1. BREACH OF CONTRACT
                                           )
16                v.                       )   2. BREACH OF COVENANT
                                           )      OF GOOD FAITH AND FAIR
17   RSUI INDEMNITY COMPANY,               )      DEALING
     and Does 1 through 100, inclusive,    )
18                                         )   3. VIOLATION OF BUSINESS
                                           )      AND PROFESSIONS CODE
19
           Defendants.                     )      SECTION 17200, et seq.
20                                         )
                                           ) DEMAND FOR JURY TRIAL
21   _____________________________________ )
22

23

24          Plaintiff Stephens Institute, doing business as Academy of Art University (“AAU” or

25   “Plaintiff”), by and through undersigned counsel, for its Complaint against Defendant RSUI Indemnity

26   Company (“RSUI” or “Defendant”), respectfully states and alleges as follows. Defendant RSUI
27

28                                                    1
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     entered into a contract to provide insurance coverage to the Plaintiff. When AAU was named as a
 1

 2   defendant in multiple litigations, it turned to RSUI for insurance coverage and RSUI agreed to cover

 3   the defense of the Plaintiff’s actions, but with a caveat. RSUI parsed the counts in the litigations

 4   asserted against AAU into “covered” and “non-covered” components and asserted it was entitled to
 5   discount its defense obligations pursuant to an “Allocation” provision in its policy. Without
 6
     agreement with RSUI on this point, AAU proceeded to defend itself in the underlying litigations
 7
     without receiving any payment from RSUI for its defense.
 8
             The “Allocation” question became academic during the pendency of the underlying claims, as
 9

10   AAU’s defense expenses incurred in defended itself exceeded, by a multiple, the $2 million aggregate

11   limit provided by RSUI’s policy. RSUI’s contentions that its coverage obligations were limited based

12   upon “Allocation” were further mooted when AAU reasonably settled certain litigation brought
13
     against it by the City and County of San Francisco, California for an amount exceeding $57 million.
14
     No matter how the “Allocation” defense asserted by RSUI is framed, the aggregate limit provided by
15
     RSUI’s policy, even under assumptions most favorable to RSUI, is exhausted by covered losses many
16
     times over. RSUI nonetheless has unreasonable, maliciously and unlawfully refused to pay any monies
17

18   to AAU under the policy to date.

19           Following a tender of its defense invoices to RSUI in October 2019, AAU used its best efforts
20   to resolve its dispute with RSUI, including through participation in a mediation before Retired Judge
21
     William J. Cahill and counsel for RSUI between August and June 2021. Despite AAU’s best efforts,
22
     the parties were not able to resolve their dispute, as RSUI continues to refuse any payment or
23
     resolution. RSUI’s contentions are unsupported and AAU is entitled to receive the full benefit of the
24

25   $2 million in insurance it purchased from RSUI, which RSUI has conceded provides coverage to

26   RSUI for the underlying matters, plus additional damages based upon RSUI’s unreasonable and bad

27   faith refusal to fulfill its obligations, as discussed further below.
28                                                           2
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 1                                         NATURE OF THE ACTION
 2          1.      This civil action arises from the Defendant’s breach of contract and breach of the
 3
     covenant of good faith and fair dealing concerning an insurance coverage agreement between AAU, as
 4
     a policyholder, and RSUI, a liability insurer that sold an insurance policy to AAU.
 5
            2.      Specifically, this dispute involves AAU’s rights under a directors’ and officers’ liability
 6
     insurance policy issued by RSUI. RSUI agreed to defend certain matters asserted against AAU
 7

 8   subject to various reservations of rights and purported limitations regarding how RSUI’s coverage is

 9   apportioned between covered and allegedly non-covered aspects of AAU’s claims.
10          3.      RSUI has not disputed that it owes coverage to AAU under its policy in connection
11
     with certain claims asserted against AAU. Rather, Defendant disputes the extent of its coverage
12
     obligations to AAU and how much RSUI should pay as a result.
13
            4.      Accordingly, AAU seeks a ruling that Defendant has breached the RSUI policy and
14

15   done so in bad faith by refusing to provide full coverage under its policy for the claims asserted

16   against AAU. Additionally, AAU seeks compensatory damages, extra-contractual damages for bad

17   faith, interest, costs, attorneys’ fees, and such other relief as this Court deems just and proper.
18                                                   PARTIES
19          5.      Plaintiff AAU is a for-profit post-secondary educational school for art and design with
20
     its principal place of business at 79 New Montgomery St., San Francisco, California 94105.
21
            6.      Defendant RSUI is a company organized under the laws of New Hampshire with its
22
     headquarters at 945 East Paces Ferry Road, Suite 1800, Atlanta, Georgia 30326, and an office at
23

24   15303 Ventura Boulevard, Suite 500, Sherman Oaks, California 91403. RSUI is engaged in the

25   business of selling insurance and is licensed to do business in California.

26

27

28                                                        3
                                              COMPLAINT FOR DAMAGES
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            7.      The true names and capacities, whether individual, plural, corporate, partnership,
 1

 2   associate, or otherwise, of DOE Defendants 1 through 100, inclusive, are unknown to Plaintiff who

 3   therefore sues said Defendants by such fictitious names. The full extent of facts linking such

 4   fictitiously sued Defendants is unknown to Plaintiff. Plaintiff is informed and believes, and thereon
 5   alleges, that each of the Defendants designated as a DOE was, and is, negligently, recklessly, and/or
 6
     intentionally responsible for the events and happenings hereinafter referred to, and thereby
 7
     negligently, recklessly, and/or intentionally legally and proximately caused the hereinafter described
 8
     injuries and damages to Plaintiff. Plaintiff will hereafter seek leave of the Court to amend this
 9

10   Complaint to show the fictitiously sued Defendants’ true names and capacities, after the same have

11   been ascertained.

12                                      JURIDISCTION AND VENUE
            8.      This Court has jurisdiction over the entire action as this is a civil action wherein the
13

14   matter in controversy, exclusive of interest and costs, exceeds the jurisdictional minimum of the Court.

15   The acts and omissions complained of in this action took place, in whole or in part, in the State of

16   California. The insurance contract at issue was entered into in California and was issued to an insured
17   located in the State of California.
18
            9.      This Court has personal jurisdiction over the Defendant because it is now, or within the
19
     time period relevant to the claims asserted herein or within the time period relevant to the issuance of
20
     the RSUI policy by the Defendant to AAU, has been licensed to do business in California; is
21

22   transacting or has transacted business in California; has contracted to insure persons, property, or risks

23   located in California; has contractually or otherwise consented to submit to personal jurisdiction in

24   California; and/or has other significant contacts with California.
25
            10.     The Defendant therefore has sufficient contacts with California that give rise to the
26
     present action, has continuous and systematic contacts with California, and/or has consented either
27

28                                                       4
                                             COMPLAINT FOR DAMAGES
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     explicitly or implicitly to the jurisdiction of this Court.
 1

 2           11.      Venue is proper in this county pursuant to Section 395(a) of the California Code of

 3   Civil Procedure because the alleged wrongs occurred in this county.

 4                                         FACTUAL BACKGROUND
     I.      RSUI’S POLICY
 5
             12.      RSUI insured AAU for over a decade and issued a “Directors and Officers Liability”
 6

 7   policy (the “Policy”) for the period January 1, 2016 to January 1, 2017 (the “Policy Period”). 1 The

 8   Policy provides a $2 million aggregate limit.
 9           13.      Coverage is available under the Policy for an Insured Organization 2 “if a Claim for a
10
     Wrongful Act is first made against the Insured Organization during the Policy Period and reported in
11
     accordance with Section V. – Conditions C. Notice of Claim or Circumstance of this policy, the
12
     Insurer will pay on behalf of the Insured Organization all Loss the Insured Organization is legally
13

14   obligated to pay.”

15           14.      A “Claim” is defined as, among other things, “a civil, criminal, administrative,

16   regulatory or arbitration proceeding for monetary or non-monetary relief which is commenced by: a.
17   receipt or service of a complaint or similar pleading; b. return of an indictment (in case of a criminal
18
     proceeding); or c. receipt of a notice of charges.” A Claim that triggers coverage under the RSUI
19
     Policy is not limited by the sort of relief sought; a Claim triggers RSUI’s obligations under its Policy
20
     regardless of whether it seeks monetary or non-monetary relief.
21

22           15.      “Wrongful Acts” are broadly defined in the RSUI Policy to include “any actual or

23   alleged act, error, omission, misstatement, misleading statement, neglect or breach of duty . . . by . . .

24

25
             1
                 A copy of the Policy is attached as Exhibit A.
26
             2
            The RSUI Policy identifies “Stephens Institute dba Academy of Art University” as the
27   Named Insured. RSUI does not dispute that AAU is insured by its Policy.

28                                                          5
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     [t]he Insured Organization.” The Policy’s “Wrongful Act” definition does not limit the scope of
 1

 2   coverage provided under RSUI’s Policy to Claims involving Wrongful Acts that actually result or may

 3   result in a compensable Loss under the Policy.

 4          16.     “Loss" is defined in the RSUI Policy to include “damages (including front and back
 5   pay), settlements, judgments (including pre- and post- judgment interest on a covered judgment) and
 6
     Defense Expenses.” The RSUI Policy includes nine sub-clauses in its “Loss” definition that carve out
 7
     various remedies or forms of damages from the definition of “Loss.” None of these carve-outs
 8
     foreclose payment of Loss for equitable relief or an injunction.
 9

10          17.     The RSUI Policy requires RSUI to “defend any Claim against the Insured for which

11   coverage applies under this policy, and the Insurer shall have the right to appoint counsel of its

12   choosing.” RSUI’s rights with respect to the appointment of counsel, however, do not permit it to
13
     unreasonably impose upon AAU any counsel over AAU’s reasonable objections, nor does it permit
14
     RSUI to control the defense of AAU’s claim where a coverage dispute presents a conflict of interest
15
     between the policyholder and the insured.
16
            18.     Lastly, the RSUI Policy includes an “Allocation” provision, which provides:
17

18                  If both Loss covered under this policy and loss not covered under this policy are jointly
                    incurred either because a Claim includes both covered and non-covered matters or
19                  covered and non-covered causes of action or because a claim is made against both an
                    Insured and any other parties not insured by this policy, then the Insured and the Insurer
20                  shall use their best efforts to fairly and reasonably allocate payment under the policy
21                  between covered Loss and non-covered loss based on the relative legal exposures of the
                    parties with respect to covered and non-covered matters or covered and non-covered
22                  causes of action.

23                  If the Insurer and the Insured agree on an allocation of Defense Expenses, based on
                    covered and non-covered matters or persons, the Insurer shall advance Defense
24                  Expenses allocated to covered Loss. If there is no agreement on an allocation of
25                  Defense Expenses, the Insurer shall advance Defense Expenses that the Insurer believes
                    to be covered under the policy until a different allocation is negotiated, arbitrated, or
26                  judicially determined.

27   II.    THE CCSF AND GOLDBERG MATTERS
28                                     6
                                             COMPLAINT FOR DAMAGES
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 1          19.     Over the course of 2016–2017, AAU was named as a defendant in several actions,
 2
     which it submitted to RSUI for coverage.
 3
            20.     On May 6, 2016, the City and County of San Francisco brought an action against AAU,
 4
     and various affiliated limited liability companies, asserting “blatant disregard for the San Francisco
 5

 6   Planning Code,” alleging, among other things, that AAU changed the use of over 22 student housing

 7   buildings in San Francisco in violation of the Planning Code. People of the State of California, ex rel.

 8   Herrera v. Stephens Institute, d/b/a Academy of Art University, San Francisco Superior Court Case
 9
     No. CGC-I6-551832 (the “CCSF matter”).
10
            21.     The following week, on May 13, 2016, Bennett Goldberg and Linda Kuckuk, parents of
11
     a deceased former AAU student, filed an action against AAU in federal court alleging, through various
12
     iterations and amendments, violations of various California consumer protection laws, unjust
13

14   enrichment, the Unruh Civil Rights Act, and the San Francisco Rent Ordinance based upon certain

15   alleged misrepresentations made by AAU regarding its student housing. Bennett Goldberg & Linda
16   Kuckuk v. Stephens Institute, United States District Court for the Northern District of California Case
17
     No. 4:16-cv-02613-JSW.
18
            22.     Following the dismissal of this initial Goldberg litigation due to lack of standing, on
19
     March 30, 2017, a related action was filed against AAU in the Superior Court In and For the City and
20

21   County of San Francisco seeking relief pursuant to Section 37.10B of the Rent Ordinance on behalf of

22   a putative class of students who executed bed licenses with AAU. Bennett Goldberg & Linda Kuckuk

23   v. Stephens Institute, Superior Court Case No. CGC 17-557866 (taken together with the related federal
24   suit filed in the Northern District of California, Case No. 4:16-cv-02613-JSW, the “Goldberg matter”).
25
     III.   RSUI ACKNOWLEDGES COVERAGE UNDER THE POLICY, RESERVES ITS
26          RIGHTS, THEN REFUSES TO PAY

27          23.     The Goldberg and CCSF matters were timely tendered to RSUI for coverage, which
28                                                 7
                                             COMPLAINT FOR DAMAGES
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     agreed to appoint counsel and defend AAU, partially and subject to a reservation of its rights, while
 1

 2   demanding that AAU: (a) accept as counsel a firm that had previously been adverse to AAU in a major

 3   litigation; and (b) self-fund the majority of its Defense Expenses based upon RSUI’s unfounded

 4   contention that aspects of these Claims were not covered.
 5          24.     Specifically, in an August 26, 2016 letter, RSUI agreed to “defend [the CCSF matter]
 6
     under a reservation of rights,” noting that for claims first made during the policy period, “coverage
 7
     would appear to apply and [RSUI] would be obligated to defend.” In addition, RSUI asserted that
 8
     because: (a) one of the properties at issue had been the subject of prior proceedings involving
 9

10   allegedly similar violations; and (b) “The CCSF Action does not currently seek any covered Loss,”

11   80% of AAU’s Loss related to this claim, including Defense Expenses, should be allocated to non-

12   covered matters and borne by AAU.
13
            25.     RSUI likewise acknowledged coverage and agreed to defend AAU for the Goldberg
14
     matter in an August 11, 2016 letter. However, based upon the nature of the relief sought by the
15
     plaintiffs, RSUI contended that its obligations were limited to 1/3 of AAU’s Defense Expenses.
16
            26.     Given a prior adverse posture in another matter (RSUI’s proposed counsel, Gordon &
17

18   Rees had been adverse to AAU in another case) and in light of the conflicting interests presented by

19   RSUI’s coverage position, AAU rejected RSUI’s proposed counsel and proceeded to defend itself in
20   both the CCSF and Goldberg actions.
21
            27.     Specifically, the Gordon Rees firm previously represented a client in suing AAU.
22
     Specifically, in the late 1990s, the San Francisco Olympic Club undertook to renovate a portion of its
23
     property, which was adjacent to certain AAU buildings. The Olympic Club’s renovations damaged
24

25   AAU’s property, and, in 2003, AAU commenced litigation against the Olympic Club in California

26   state court captioned Academy of Art University, Inc. et al. v. San Francisco Olympic Club, Inc. et al.,

27   Case No. CGC-03-427640 (Cal. Super. Ct. 2003). Gordon & Rees represented the Olympic Club in
28                                                  8
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     that litigation. Thus, notwithstanding whatever rights RSUI may have had with respect to the
 1

 2   appointment of defense counsel under its policies, those rights did require AAU to accept a defense

 3   from a firm that was adverse to it in a prior major litigation. AAU made this objection clear to AAU

 4   at the outset of the Goldberg and CCSF matters, which RSUI ignored.
 5          28.     Moreover, the coverage positions asserted by RSUI regarding the Goldberg and CCSF
 6
     matters entitled AAU to independent counsel. RSUI offered to provide a defense to AAU in the
 7
     Goldberg and CCSF actions, subject to a reservation of rights. But RSUI contended, and continues to
 8
     contend, that its obligations in Goldberg were limited under its allocation provision because “the State
 9

10   Court Action does not currently assert any legal theory under which covered Loss could be awarded.”

11   Based on this contention, RSUI proposed that “2/3 of the Loss, including Defense Expenses, be

12   allocated to non-covered matters to be borne by AAU.”
13
            29.     Similarly, in the CCSF litigation, RSUI alleged that “Because the CCSF Action does
14
     not currently seek any covered Loss and CCSF’s claim as to 460 Townsend Street is not covered,”
15
     RSUI “proposes 4/5 of the Loss, including Defense Expenses, be allocated to non-covered matters to
16
     be borne by AAU.”
17

18          30.     In both cases, RSUI sought to discount its obligations, not because there was no

19   “Claim” made against AAU or “Wrongful Act” alleged by the plaintiffs. But rather, RSUI asserted
20   that because of the nature of the remedies sought by the plaintiffs in these cases, a fully litigated
21
     outcome would not require it to pay anything for a judgment adverse to AAU. These were precisely
22
     the sort of situations in which it was critical that AAU be afforded its own independent counsel.
23
            31.     AAU also, for the reasons discussed herein, rejected RSUI’s proposed allocation
24

25   between covered and non-covered loss for both the CCSF and Goldberg matters. RSUI’s proposed

26   allocations in the Goldberg and CCSF matters were not supported by the relevant considerations set

27   forth in its Policy. The allocation provision in RSUI’s Policy required that the parties allocate between
28                                                       9
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     covered Loss and Loss that is not covered “based upon the relative legal exposures of the parties with
 1

 2   respect to covered and non-covered matters or covered and non-covered causes of action.” RSUI’s

 3   allocation proposals did not appropriately account for the “relative legal exposures” presented by the

 4   Goldberg and CCSF litigations.
 5          32.     RSUI’s sole contentions for allocating 2/3 of all Loss in the Goldberg I matter to be
 6
     borne by AAU were that: (a) “penal fines,” the only monetary relief sought by plaintiffs, are not
 7
     covered under the policies’ definition of “Loss”; and (b) the plaintiffs’ claim for “Public Injunction”
 8
     “typically [does] not constitute damages covered by the Policy.”
 9

10          33.     With respect to CCSF, RSUI similarly asserted that because its policies’ definition of

11   “Loss” does “not include civil penalties or the cost of complying with injunctive relief,” the case did

12   not seek any covered “Loss” and 4/5 of the Defense Expenses should be allocated to non-covered
13
     matters and borne by AAU.
14
            34.     RSUI’s analysis was backwards. The allocation determination is not based upon the
15
     ultimate “Loss” which could result in a matter, but is premised upon the “relative legal exposures of
16
     the parties with respect to covered and non-covered matters and covered and non-covered causes of
17

18   action.” In other words, the allocation determination is made based upon the nature of the alleged

19   matter or cause of action, and not based upon the hypothetical outcome with respect to a particular
20   relief sought by a plaintiff. It is the alleged “Claim” and “Wrongful Act” that is determinative of
21
     RSUI’s defense obligations, not the remedy claimed by the plaintiffs.
22
            35.     This much is clear from the Insuring Agreement in RSUI’s policies, which provides
23
     that RSUI’s obligations are triggered by “a Claim for a Wrongful Act” that is “first made against the
24

25   Insured Organization during the Policy Period.” The definition of “Claim” includes a “civil, criminal,

26   administrative, regulatory or arbitration proceeding for monetary or non-monetary relief.” Critically,

27

28                                                      10
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     this definition does not require a compensable “Loss” for the Policy to be triggered. It bears emphasis
 1

 2   that a “Claim” triggering RSUI’s obligations under the Policy can solely seek “non-monetary relief.”

 3          36.     Moreover, the Policy’s definition of “Wrongful Act,” means any actual or alleged act,

 4   error, omission, misstatement, misleading statement, neglect or beach of duty … by the Insured
 5   Organization,” without any requirement that such “Wrongful Act” actually result in a compensable
 6
     “Loss” under the Policy.
 7
            37.     It is illogical that a lawsuit filed against RSUI’s insured that includes a single count for
 8
     non-monetary relief could satisfy the Policy’s definition of “Claim,” and allege a “Wrongful Act,”
 9

10   thereby triggering RSUI’s defense obligation (which is not linked to any particular remedy, relief, or

11   form of “Loss”), but require a 0% allocation to coverage because, in RSUI’s view, it would not seek a

12   remedy or relief within the Policy’s definition of Loss. The manner in which RSUI proposed to
13
     circumscribe its broad defense obligation is irreconcilable with the terms of its Policy.
14
            38.     RSUI’s contention that allocation to non-coverage is further warranted because costs
15
     associated with equitable relief (e.g., injunctions) typically do not constitute damages covered by its
16
     policies was also unfounded. Language supporting this proposition is nowhere to be found in the
17

18   RSUI’s Policy. Rather the Policy specifically required that RSUI pay “all Loss” that the insured “is

19   legally obligated to pay.” “Loss” is defined to include “damages (including front and back pay),
20   settlements, judgments (including pre- and post- judgment interest on a covered judgment) and
21
     Defense Expenses.” A judgement against AAU or a settlement requiring it to incur costs in
22
     connection with injunctive relief would fall within this definition. There was simply no basis in the
23
     Policy supporting RSUI’s contention that any aspect of the Goldberg or CCSF litigations that seeks
24

25   “equitable relief” was not covered and must be accounted for accordingly in an allocation.

26          39.     Nor was there any credible basis in the CCSF matter to discount the allocation based

27   upon alleged prior violations at one of the properties at issue in that litigation (460 Townsend Street),
28                                                       11
                                             COMPLAINT FOR DAMAGES
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     or any other property for that matter. The litigation brought by the City and County of San Francisco
 1

 2   against AAU was unquestionably commenced during the 2016 period. No prior action based on these

 3   properties had been commenced by the City or County against AAU by serving a complaint or similar

 4   proceeding. And the attempts by RSUI to evade its obligations by linking prior alleged violations at
 5   any properties to this litigation would defeat the purpose of its coverage; an isolated and routine
 6
     building code violation at a property cannot foreclose coverage for a subsequent civil litigation, years
 7
     later, seeking tens of millions of dollars. Suggestions by RSUI in its coverage correspondence that it
 8
     could limit its obligations for the CCSF matter in this manner were unfounded.
 9

10          40.     On October 2, 2019, AAU tendered all invoices incurred to date in the defense of the

11   CCSF and Goldberg matters to RSUI and demanded payment. RSUI refused to pay any amount of the

12   defense invoices submitted for payment without any reasonable basis. As of that time, AAU had
13
     incurred approximately $6,927,720.00 in attorneys’ fees and costs in defending the CCSF matter and
14
     approximately $2,386,852.55 in attorneys’ fees and costs in defending the Goldberg matter.
15
     Additional defense costs have continued to accrue in these matters.
16
            41.     The CCSF matter was resolved for a total settlement payment of $57.96 million. The
17

18   CCSF settlement was approved and began to be implemented in 2020. AAU promptly provided the

19   finalized settlement to RSUI and advised that it was seeking indemnification under the Policy.
20          42.     The Goldberg matter remains pending and AAU continues to accrue attorneys’ fees and
21
     costs in connection with its defense.
22
            43.     By any reasonable measure, the Defense Expenses alone owed by RSUI to AAU fully
23
     exhaust the $2 million aggregate limit under Policy. When the settlement in the CCSF matter is
24

25   considered, there is no question that the limits of the Policy have been fully exhausted and for matters

26   that RSUI has acknowledged it has coverage obligations.

27

28                                                      12
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     IV.     AAU’S ENTITLTEMENT TO COVERAGE IN FULL FOR THE CCSF AND
 1           GOLDBERG MATTERS
 2
             44.     RSUI agreed to defend certain matters asserted against AAU, including the CCSF and
 3
     Goldberg matters, subject to various reservations of rights and purported limitations regarding how
 4
     RSUI’s coverage is apportioned between covered and allegedly non-covered aspects of AAU’s
 5

 6   Claims.

 7           45.     The quantum of the attorneys’ fees and costs AAU has incurred in defending the CCSF

 8   and Goldberg matters is sufficient to exhaust the entire aggregate limit of the Policy.
 9
             46.     No exclusions or limitations found in the RSUI Policy operates to limit or preclude
10
     coverage for the Claims against AAU.
11
             47.     Defendant has refused to honor and satisfy its obligations under the RSUI Policy by
12
     providing full coverage for the Claims asserted against AAU.
13

14                                        FIRST CLAIM FOR RELIEF
                                              Breach of Contract
15
             48.     AAU restates and re-alleges all of the foregoing paragraphs of this Complaint as though
16
     fully set forth herein.
17

18           49.     The RSUI Policy constitutes a valid and enforceable written contract.

19           50.     AAU performed all obligations and conditions, whether express or implied, and has
20   complied with all applicable terms and conditions under the RSUI Policy.
21
             51.     Pursuant to the terms of the Policy, RSUI is obligated to provide coverage to AAU for
22
     defense costs and indemnity amounts incurred in connection with the CCSF and Goldberg matters.
23
     Indeed, there is no dispute (and RSUI has not disputed) that the CCSF and Goldberg matters presented
24

25   Claims covered, at a minimum in part, by the Policy.

26           52.     RSUI has breached its obligations under the Policy by failing to pay AAU’s covered losses

27   for the CCSF and Goldberg matters.

28                                                      13
                                             COMPLAINT FOR DAMAGES
             Case 3:22-cv-00507-JCS Document 1-1 Filed 01/26/22 Page 15 of 65




             53.     AAU has been damaged and continues to sustain damages due to RSUI’s breaches of
 1

 2   the Policy in an amount to be determined at trial but anticipated to be up to and beyond the aggregate

 3   limit of the Policy.

 4           54.     As a result of RSUI’s breaches of the Policy, AAU requests entry of judgment for
 5   breach of contract, awarding payment of damages in an amount to be proven at trial.
 6
                                        SECOND CLAIM FOR RELIEF
 7                       Breach of the Implied Covenant of Good Faith & Fair Dealing

 8           55.     AAU restates and re-alleges all of the foregoing paragraphs of this Complaint as though
 9
     fully set forth herein.
10
             56.     The Policy constitutes a valid and enforceable written contract.
11
             57.     AAU performed all obligations and conditions, whether express or implied, and
12
     complied with all applicable terms and conditions of the Policy.
13

14           58.     The Policy includes an implied covenant that RSUI will act in good faith and deal fairly

15   with AAU.
16           59.     RSUI breached the implied covenant of good faith and fair dealing by among other
17
     things: (a) failing to pay AAU’s claim for coverage without any reasonable basis; (b) attempting to
18
     impose upon AAU defense counsel that had been adverse to AAU in another matter and was subject to
19
     conflicts of interests in the CCSF and Goldberg matters; (c) acting solely in in its own economic
20

21   interests without any regard for the interests of AAU; and (d) compelling AAU to file this lawsuit to

22   obtain the coverage owed under the Policy.

23           60.     As a result of RSUI’s breaches of the implied covenant of good faith and fair dealing,
24   AAU has incurred substantial damages, including but not limited to attorneys’ fees they are being
25
     forced to incur to obtain the coverage owed under the Policy.
26
             61.     Because RSUI’s conduct was malicious and oppressive, AAU is also entitled to
27

28                                                      14
                                             COMPLAINT FOR DAMAGES
             Case 3:22-cv-00507-JCS Document 1-1 Filed 01/26/22 Page 16 of 65




     punitive damages.
 1

 2          62.     As a result of RSUI’s breaches of its duties of good faith and fair dealing, AAU request

 3   entry of judgment, awarding payment of damages, including but not limited to attorneys’ fees, as well

 4   as punitive damages.
 5                                         THIRD CLAIM FOR RELIEF
 6                       Violation of Business and Professions Code Section § 17200

 7           63.    Plaintiff references all previously alleged paragraphs of this Complaint, and by such

 8   reference incorporates those paragraphs herein as though set forth in full.
 9
            64.     Plaintiff is informed and believes, and thereon alleges that the acts and omissions
10
     described herein constitute the standard and ongoing business practices of the named and fictitiously
11
     designated Defendants, and each of them.
12
            65.     Defendant and its employees are bound by state law to comply with the
13

14   California Fair Claims Settlement Practices Regulations (10 Cal. Code Regs. § 2695.1 et seq.).

15   Defendant violated those regulations and will continue violating those regulations in its handling of
16   Plaintiff’s claim and claims submitted by other California policyholders unless an injunction is issued
17
     by this Court prohibiting such conduct.
18
            66.     The acts and omissions of the named and fictitiously-designated defendants, and each
19
     of them described herein, constitute a violation of various statutes and regulations governing the
20

21   conduct of insurers in the State of California, including those promulgated under Insurance Code §

22   790.03(h), various regulations promulgated by the Department of Insurance as set forth in Title 10 of

23   the California Code of Regulations § 2695.1 et seq., and California statutes that have been
24   promulgated to prohibit unfair and deceptive insurance practices and insurance fraud.
25

26

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28                                                      15
                                               COMPLAINT FOR DAMAGES
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            67.         Plaintiff is informed and believes, and thereon alleges that the acts and omissions of
 1

 2   the named and fictitiously-designated defendants, and each of them, constitute unlawful, unfair or

 3   fraudulent business acts or practices within the meaning of Business and Professions Code § 17200.

 4          68.         Plaintiff has suffered a direct injury as a result of the acts and omissions of Defendants,
 5   and each of them described herein, including the unreasonable and unlawful deprivation of Policy
 6
     benefits, as well as mental and emotional pain and suffering.
 7
            69.         In addition to sustaining the unreasonable and unlawful deprivation of Policy benefits,
 8
     as well as the mental and emotional pain and suffering stated herein, Plaintiff has also incurred costs
 9

10   that resulted from such unlawful, unfair and fraudulent business acts, practices and conduct of the

11   named and fictitiously-designated defendants, and each of them.

12          70.         Plaintiff seeks an Order enjoining all of the named and fictitiously-designated
13
     defendants, and each of them, from engaging in further unlawful, unfair or fraudulent business acts
14
     and practices within the State of California.
15

16                                              PRAYER FOR RELIEF
17   WHEREFORE, AAU respectfully requests an order and relief as follows:
18                1.       For general and special damages according to proof;
                  2.       For monetary damages including all available incidental, actual, consequential,
19                         special, and compensatory damages;
20                3.       For extra-contractual damages for RSUI’s breach of the implied warranty of good
                           faith and fair dealing;
21                4.       For pre-judgment and post-judgment interest as to Plaintiff’s compensatory and
                           consequential damages at the maximum rate permitted by law;
22                5.       For loss of income come from funds expended and interest earnings on funds
                           expended, excluding prejudgment interest for the same.
23
                  6.       For the costs of suit;
24                7.       For an award of punitive and/or exemplary damages in an amount to punish
                           Defendants, and each of them, and deter them from engaging in similar conduct in
25                         the future;
                  8.       For attorney fees not limited to the Policy benefits;
26                9.       For injunctive relief; and,
                  10.      Any such other and further relief to which this Court may deem to be justly entitled.
27

28                                                          16
                                                 COMPLAINT FOR DAMAGES
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 1
                                       JURY TRIAL DEMAND
 2
          AAU hereby demands a jury trial on all issues of fact properly triable by jury.
 3

 4
     DATED: December 27, 2021                            LAW OFFICES OF JOSEPH L. ALIOTO
 5                                                       AND ANGELA ALIOTO
 6
                                                  By: _____________________________________
 7                                                    Angela M. Alioto
                                                      Attorney for Plaintiff
 8

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                                         COMPLAINT FOR DAMAGES
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                      EXHIBIT A
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DIRECTORS AND OFFICERS LIABILITY POLICY
DECLARATIONS




ITEM 1.




ITEM 2. POLICY PERIOD:


ITEM 3. LIMIT OF LIABILITY:



ITEM 4. RETENTION:




ITEM 5. PREMIUM:




ITEM 6. POLICY FORM AND ENDORSEMENTS MADE A PART OF THIS POLICY AT THE TIME OF ISSUE:
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DIRECTORS AND OFFICERS LIABILITY POLICY
SUPPLEMENTAL DECLARATIONS



POLICY NUMBER:           NHP665974
                                              SCHEDULE OF ENDORSEMENTS

     TITLE                                                                    FORM NUMBER

     Disclosure Pursuant to Terrorism Risk Insurance Act                      RSG 204123 0116

     Absolute Exclusion - Bodily Injury and Property Damage with Allocation   RSG 246008 0315

     Absolute Exclusion - Sexual Abuse with Allocation                        RSG 206096 0315

     Amended Notice of Claim or Circumstance - Specific Position Trigger      RSG 204151 0911

     California Changes - Cancellation and Nonrenewal                         RSG 203005 0611

     Cap on Losses From Certified Acts of Terrorism                           RSG 204081 0315

     Class Action Retention

     Coverage Extension - Educational Institution Modified

     Coverage Extension - Federal Immigration & Nationality Act               RSG 204159 0210

     Exclusion - FCRA and FDCPA Claims

     Exclusion - Prior and or Pending Litigation Backdated                    RSG 206071 0204

     Exclusion - Remove Anti-Trust                                            RSG 246003 0606

     Exclusion - Telecommunications Claims                                    RSG 206097 0315

     Full Severability                                                        RSG 204126 0204

     Insuring Agreement A - Separate Limit                                    RSG 204143 0407

     Investigative Costs Coverage                                             RSG 204139 0207

     Modified Insured vs. Insured Exclusion (Carve Back Former D&O's)         RSG 246004 0609

     Severability of the Entity                                               RSG 204145 0407

     Side A and B Non-Rescindable Coverage                                    RSG 204158 0808

     Sublimit - Credentialing - Peer Review                                   RSG 204112 0210

     Sublimit - Defense Expenses - Wage and Hour Claims                       RSG 204153 0609

     Third Party Liability Coverage                                           RSG 204119 1011

     Three (3) Year Bilateral Discovery Period                                RSG 207002 0204




RSG 200007 0204
                    Case 3:22-cv-00507-JCS Document 1-1 Filed 01/26/22 Page 22 of INDEMNITY
                                                                             RSUI 65        COMPANY




THIS ENDORSEMENT IS ATTACHED TO AND MADE A PART OF THIS POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER
THIS POLICY.

                       DISCLOSURE PURSUANT TO TERRORISM RISK
                                   INSURANCE ACT
                                                           SCHEDULE*

       Terrorism Premium                         $0

       Additional information, if any, concerning the terrorism premium:
       The portion of your premium for the policy term attributable to coverage for all acts of terrorism
       covered under this policy including terrorist acts certified under the Act is listed above.




       *Information required to complete this Schedule, if not shown above, will be shown in the Declarations Page.
A. Disclosure of Premium
   In accordance with the federal Terrorism Risk Insurance Act, as amended, the Insurer is required to provide the Insured with
   a notice disclosing the portion of the Insured’s premium, if any, attributable to coverage for terrorist acts certified under the
   Terrorism Risk Insurance Act. The portion of the Insured’s premium attributable to such coverage is shown in the Schedule
   of this endorsement or in the policy Declarations Page.
   As defined in Section 102(1) of the Act: The term “act of terrorism” means any act or acts that are certified by the Secretary of
   the Treasury – in consultation with the Secretary of Homeland Security, and the Attorney General of the United States – to be
   an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
   damage within the United States, or outside the United States in the case of certain air carriers or vessels or the premises of a
   United States mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
   population of the United States or to influence the policy or affect the conduct of the United States Government by coercion.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
   The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
   program. Under the formula, the United States Government generally reimburses 85% through 2015; 84% beginning on
   January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on January 1, 2019
   and 80% beginning on January 1, 2020, of covered terrorism losses that exceeds the applicable Insurer retention. However,
   if aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in
   a calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
   billion.
C. Cap Insurer Participation in Payment of Terrorism Losses
   If aggregate Insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion
   in a calendar year and the Insurer has met our Insurer deductible under the Terrorism Risk Insurance Act, the Insurer will
   not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case Insured
   losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
   Treasury.


                                                                       Policy No.: NHP665974           Effective: 1/1/2016
RSG 204123 0116
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                    This Endorsement Changes The Policy. Please Read It Carefully.
                 ABSOLUTE EXCLUSION – BODILY INJURY AND
                   PROPERTY DAMAGE WITH ALLOCATION
This endorsement modifies insurance provided under the following:

                    DIRECTORS AND OFFICERS LIABILITY POLICY – PRIVATE COMPANY

SECTION IV. - EXCLUSIONS, 4. is amended to read as follows:
4. Alleging, arising out of, based upon, attributable to, or in any way involving, directly or indirectly:
    a. Bodily injury, sickness, disease or death of any person, mental anguish or emotional distress; provided,
       this EXCLUSION 4.a. will not apply to allegations of mental anguish or emotional distress made solely in
       connection with an Employment Practices Claim; or
    b. Damage to or destruction of any tangible property, including loss of use thereof, whether or not such
       property is physically damaged;
    provided that, regardless of any other terms or conditions in this Policy, including any endorsements, the
    covered and uncovered portions of Loss arising from any such Claim shall be allocated in accordance with
    this Policy’s allocation provision.

All other terms and conditions of this policy remain unchanged.




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RSG 246008 0315
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                     This Endorsement Changes The Policy. Please Read It Carefully.

 ABSOLUTE EXCLUSION – SEXUAL ABUSE WITH ALLOCATION
This endorsement modifies insurance provided under the following:

            DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

The Insurer shall not be liable to make any payment for Loss in connection with that portion of any Claim
(including but not limited to any derivative or representative class actions) made against any Insured alleging,
arising out of, based upon or attributable to, or in any way involving, in whole or in part, any forcible physical or
sexual assault, battery or molestation, including rape; provided that, regardless of any other terms or conditions in
this Policy, including any endorsements, the covered and uncovered portions of Loss arising from any such
Claim shall be allocated in accordance with this Policy’s allocation provision.
All other terms and conditions of this policy remain unchanged.




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RSG 206096 0315
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                   This Endorsement Changes The Policy. Please Read It Carefully.

             AMENDED NOTICE OF CLAIM OR CIRCUMSTANCE –
                     SPECIFIC POSITION TRIGGER
This endorsement modifies insurance provided under the following:

             DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                  DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                   DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

SECTION V. – CONDITIONS, C. Notice of Claim or Circumstance, is deleted and replaced by the following:
C. Notice of Claim or Circumstance
   1.   If, during the Policy Period or Discovery Period (if applicable), any Claim is first made, it shall be a
        condition precedent to the Insurer’s obligation to pay, that the Insured give written notice of such Claim
        to the Insurer as soon as practicable after the Insured’s CEO, CFO, GC, or HR Director first becomes
        aware of the Claim, but in no event shall such notice be given later than sixty (60) days after the
        expiration or earlier cancellation date of this Policy.
   2.   If, during the Policy Period or Discovery Period (if applicable), any Insured first becomes aware of any
        facts or circumstances which may reasonably be expected to give rise to a Claim against any Insured
        and, as soon as practicable thereafter, but before the expiration date or any earlier cancellation date of
        this policy, gives to the Insurer written notice, of such facts or circumstances along with the full
        particulars described below, then any Claim subsequently made against any Insured arising out of such
        facts or circumstances will be deemed first made during the Policy Period. The written notice shall
        include, at a minimum:
        a.   The names or identity of the potential claimants and a detailed description of the specific alleged
             Wrongful Act; and
        b.   The circumstances by which the Insured first became aware of the specific alleged Wrongful Act.

All other terms and conditions of this policy remain unchanged.




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RSG 204151 0911
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                   This Endorsement Changes The Policy. Please Read It Carefully.

  CALIFORNIA CHANGES – CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

             DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                  DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                   DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

SECTION V. – CONDITIONS, G. Cancellation; Renewal Provision is deleted in its entirety and replaced with the
following:
G. Cancellation; Renewal Provision
    The Insured Organization may cancel this policy at any time by written notice or by surrender of this policy
    to the Insurer at the address shown on the Declarations Page.
    This policy may only be cancelled by or on behalf of the Insurer in the event the Insured Organization fails
    to pay any premium when due. In the event of non-payment of premium by the Insured Organization, the
    Insurer may cancel this policy upon ten (10) days written notice. The Insurer will mail notice to the Insured
    Organization’s address as shown in Item 1. of the Declarations Page. The mailing of such notice as
    aforesaid shall be sufficient proof of notice.
    If the Insured Organization cancels this policy, the Insurer will retain the customary short rate proportion of
    the premium hereon.
    The Insurer shall not be required to renew this policy upon its expiration. The offer by the Insurer of renewal
    terms, conditions, Limit of Liability and/or premiums varying from those of the expiring policy shall not
    constitute a refusal to renew.
    Nonrenewal
    1. Subject to provisions of paragraph 2. below, if the Insurer elects not to renew this policy, the Insurer will
       mail or deliver written notice stating the reason for nonrenewal to the Insured Organization shown in the
       Declarations Page and to the producer of record, at least sixty (60) days, but not more than one hundred
       twenty (120) days, before the expiration or anniversary date.
        The Insurer will mail or deliver said notice to the Insured Organization, and to the producer of record, at
        the mailing address shown in this policy.
    2. The Insurer is not required to send notice of nonrenewal in the following situations:
        a. If the transfer or renewal of a policy, without any changes in terms, conditions, or rates, is between
           the Insurer and a member of the Insurer’s insurance group.
        b. If the policy has been extended for ninety (90) days or less, provided that notice has been given in
           accordance with paragraph 1. above.
        c.   If the Insured Organization has obtained replacement coverage, or if the Insured Organization has
             agreed, in writing, within sixty (60) days of the termination of this policy, to obtain that coverage.
        d. If the policy is for a period of no more than sixty (60) days and the Insured Organization is notified at
           the time of issuance that it will not be renewed.
        e. If the Insured Organization requests a change in the terms or conditions or risks covered by this
           policy within sixty (60) days of the end of the Policy Period.
        f.   If the Insurer has made a written offer to the Insured Organization, in accordance with the
             timeframes shown in paragraph 1. above, to renew this policy under changed terms or conditions or
             at an increased premium rate, when the increase exceeds twenty five percent (25%.)
All other terms and conditions of this policy remain unchanged.
                                                              Policy No.: NHP665974              Effective: 1/1/2016
RSG 203005 0611
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                   This Endorsement Changes The Policy. Please Read It Carefully.

       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

          DIRECTORS AND OFFICERS LIABILITY POLICY – NOT FOR PROFIT ORGANIZATIONS
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                      EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                 EXCESS LIABILITY POLICY

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
$100 billion in a calendar year and the Insurer has met our insurer deductible under the Terrorism Risk Insurance
Act, the Insurer shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
procedures established by the Secretary of the Treasury.

Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism pursuant to such Act. The criteria
contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
   insurance subject to the Terrorism Risk Insurance Act; and
2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
   by an individual or individuals, as part of an effort to coerce the civilian population of the United States or to
   influence the policy or affect the conduct of the United States Government by coercion.
The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do
not serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses
excluded by the Nuclear Exclusion.
All other terms and conditions of this policy remain unchanged.




                                                            Policy No.: NHP665974             Effective: 1/1/2016
RSG 204081 0315
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                     This Endorsement Changes The Policy. Please Read It Carefully.

                                CLASS ACTION RETENTION
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

ITEM 4. RETENTION of the Declarations Page is amended to include the following:

ITEM 4. RETENTION:

         $ 500,000           Each claim for an actual or putative class action

All other terms and conditions of this policy remain unchanged.




                                                         Policy No.: NHP665974    Effective: 1/1/2016
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                    This Endorsement Changes The Policy. Please Read It Carefully.

COVERAGE EXTENSION – EDUCATIONAL INSTITUTION MODIFIED
This endorsement modifies insurance provided under the following:

                  DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

A. SECTION III. – DEFINITIONS, I. Insured Person shall be amended by adding the following:
   Insured Person shall include any past, present or future member of the faculty, student teacher, teaching
   assistant, representative to an education association of which the Insured Organization is a member, and
   any president, chancellor, provost, treasurer, vice president, dean, personnel director, executive director, risk
   manager, university counsel or other comparable senior administrator of the Insured Organization,
   regardless of whether they are considered as an Employee of the Insured Organization or an independent
   contractor.


B. SECTION III. – DEFINITIONS, K. Loss shall be amended by adding the following:
   Loss shall not include the return of tuition received by the Insured Organization or amounts in settlement
   reflecting such return of tuition.


C. SECTION III. – DEFINITIONS, K. Loss shall be amended to include the following:
   1. IRS Fines
       Loss shall include Defense Expenses incurred in connection with a Claim seeking an assessment of
       taxes, initial taxes, additional taxes, tax deficiencies, excise taxes or penalties pursuant to the following
       sections of the Internal Revenue Code of 1986 (as amended):
       Section 4911 (tax on excess expenditures to influence legislation);
       Section 4940 (a) (tax on net investment income of tax-exempt foundations);
       Section 4941 (taxes on self-dealing);
       Section 4942 (taxes on failure to distribute income);
       Section 4943 (taxes on excess business holding);
       Section 4944 (taxes on investments which jeopardize charitable purpose);
       Section 4945 (taxes on taxable expenditures);
       Section 6652 (c) (1) (A) and (B) (penalties for failure to file certain information returns or registration
       statements);
       Section 6655 (a) (1) (penalties for failure to pay estimated income tax); and
       Section 6656 (a) and (b) (penalties for failure to make deposit of taxes).
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    2. Excess Benefit Penalty Coverage
        Loss shall include the ten percent (10%) “Excess Benefit” penalty which might be assessed by the
        Internal Revenue Service against any individual Insured Person for management involvement in the
        award of an “Excess Benefit”.
        No coverage shall be provided by this policy for any individual Insured Person subject to the twenty five
        percent (25%) “Excess Benefit” penalty assessed by the Internal Revenue Service against any such
        Insured Person as a “disqualified person”; provided, however, that Defense Expense incurred in
        connection with the twenty five percent (25%) “Excess Benefit” penalty shall be provided to such Insured
        Person.
        Under no circumstances shall the Insurer be liable for the payment of Loss attributable to any two
        hundred percent (200%) penalty assessed by the Internal Revenue Service for failure to correct the
        award of an “Excess Benefit.”
        For purposes of this endorsement, the terms “Excess Benefit” and “disqualified person” shall be defined
        in the “Taxpayer Bill of Rights 2”, (H.R. 2337, P.L. 104–168).


    3. EMTALA Coverage
        Loss shall include the fines, penalties and Defense Expenses resulting from any Claim arising out of or
        in connection with an actual or alleged violation of the Emergency Medical Treatment and Active Labor
        Act (“EMTALA”), 42 U.S.C., 1396dd et seq., and any similar state or local statute.


    4. Government Funding Defense Expense Coverage
        Loss shall not include the return of funds which were received from any federal, state or local
        governmental agency; provided, however, that with respect to any Claim arising out of the return or
        request to return, such funds, and subject to a Retention amount of $1,000,000 the Insurer shall pay
        Defense Expenses up to a total of $1,000,000 incurred by the Insured on a fifty percent (50%)
        coinsurance basis, with fifty percent (50%) of such Defense Expenses to be borne by the Insured and to
        remain uninsured; and the remaining fifty percent (50%) of such Defense Expenses to be covered by the
        Insurer subject to all other terms, conditions and exclusions of this policy.


D. SECTION III. – DEFINITIONS, F. Employment Practices Wrongful Act shall be amended by adding the
   following:
    Any alleged defect in the tenure process, including the denial or removal of tenure.



E. SECTION III. – DEFINITIONS shall be amended by adding the following:
   14. Educators E&O Wrongful Act shall include any educational malpractice or failure to educate, failure to
       provide medical or dental or psychological services, negligent instruction, failure to supervise, inadequate
       or negligent academic guidance or counseling, improper or inappropriate academic placement or
       discipline, failure to grant due process, invasion of privacy or humiliation, including violation of the
       Buckley Amendment, or the publication of defamatory material in a book, newspaper or other publication
       of the Insured Organization, or the broadcast of such material over a radio, cable, television or computer
       site owned or operated by the Insured Organization.




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F. SECTION IV. – EXCLUSIONS shall be amended by adding the following:
    Alleging, arising out of, based upon, or attributable to, in whole or in part, the performance or rendering of or
    failure to perform professional services, where such services are undertaken for others for a fee; provided,
    this EXCLUSION shall not apply to:
    1. Any Educators E&O Wrongful Act;
    2. Any Employment Practices Wrongful Act;
    3. Any termination of hospital practice privileges; or
    4. The providing of legal services by the general counsel or other counsel employed by the Insured
       Organization.
    As respects item F.1. above, any Claim alleging, arising out of, based upon, or attributable to, in whole or in
    part, an Educators E&O Wrongful Act, is subject to a Retention amount of $500,000. No coverage shall
    apply to a Claim brought by or on behalf of an individual seeking damage for Loss caused by a health care
    provider’s provision of, or failure to provide, medical, dental or psychological treatment, diagnosis or
    consultation. Furthermore, Loss shall not include the return of tuition received by the Insured Organization
    or amounts in settlement reflecting such return of tuition.


All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

           COVERAGE EXTENSION – FEDERAL IMMIGRATION &
                        NATIONALITY ACT
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

The amount set forth in Item 3. of the Declarations Page shall be the maximum aggregate Limit of Liability
for all Loss under this policy. Subject to the foregoing, the amount of $50,000 shall be the maximum
aggregate Limit of Liability of the Insurer for Loss under this policy in connection with any Claim made
against any Insured based upon, arising out of, or attributable to any actual or alleged violation of the
Federal Immigration & Nationality Act, 8 U.S.C. Section 1101, et seq., as amended, including insurable
fines or penalties under Section 1324a of that act (“FINA Claim”). This sublimit shall be part of and not in
addition to the amount set forth in Item 3. of the Declarations Page.
A Retention in the amount of $150,000 shall apply to any Loss arising from a FINA Claim. Such Retention shall
be borne by the Insured, and the Insurer shall only be liable for the amount of Loss in excess of the above
stated Retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered pursuant to Insuring Agreement A of this Policy, the Retention normally applicable to Insuring
Agreement A shall apply to such Claim, and the Retention stated here shall not apply.

All other terms and conditions of this policy remain unchanged.




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                    This Endorsement Changes The Policy. Please Read It Carefully.

                    EXCLUSION – FCRA AND FDCPA CLAIMS
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                      EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                 EXCESS LIABILITY POLICY

The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured alleging, arising out of, based upon or attributable to, in whole or in part, any violation of:
    (a) the Fair Credit Reporting Act (“FCRA”), or any amendments thereto or any rules or regulations
        promulgated thereunder, including the Fair and Accurate Credit Transaction Act (“FACTA”);

    (b) the Fair Debt Collection Practices Act (“FDCPA”) or any amendments thereto or any rules or regulations
        promulgated thereunder; or

    (c) any similar provision of any federal, state or local statutory law, or the common law, anywhere in the
        world.


All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

EXCLUSION – PRIOR AND/OR PENDING LITIGATION BACKDATED
This endorsement modifies insurance provided under the following:

            DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                  DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

SECTION IV. - EXCLUSIONS, 10. is deleted and replaced with the following:
10. Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
    that was commenced or initiated prior to, or pending as of December 10, 2006, or arising out of or based
    upon, in whole or in part, any facts or circumstances underlying or alleged in any such prior or pending
    litigation.
All other terms and conditions of this policy remain unchanged.




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                    This Endorsement Changes The Policy. Please Read It Carefully.

                          EXCLUSION-REMOVE ANTI-TRUST
This endorsement modifies insurance provided under the following:

                   DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

SECTION IV. – EXCLUSIONS, 13. b. is deleted in its entirety.

All other terms and conditions of this policy remain unchanged.




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                     This Endorsement Changes The Policy. Please Read It Carefully.

               EXCLUSION - TELECOMMUNICATIONS CLAIMS
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                      EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                 EXCESS LIABILITY POLICY

The Insurer shall not be liable to make any payment for Loss from any Telecommunications Claim.                   A
Telecommunications Claim is any Claim:
    (a) Arising from, based upon, attributable to, or in consequence of any proceeding against any Insured
        brought by the Federal Trade Commission or any other federal, state or local regulatory agency or other
        administrative body alleging the violation of any federal, state or local laws or regulation pertaining to
        unsolicited or non-consensual advertising, through faxes, telephone calls, texting or any other medium;
        and/or
    (b) Arising from, based upon, attributable to, or in consequence of, any actual or alleged violation of:
        (i) The Fair Debt Collection Practices Act or any amendments thereto or any rules or regulations
            promulgated thereunder, or any similar provisions of any federal, state or local statutory law or
            common law anywhere in the world;
        (ii) The CAN-SPAM Act of 2003 or any amendments thereto or any rules or regulations promulgated
             thereunder, or any similar provisions of any federal, state or local statutory law or common law
             anywhere in the world;
        (iii) The Telephone Consumer Protection Act (TCPA) of 1991 or any amendments thereto or any rules or
              regulations promulgated thereunder, or any similar provisions of any federal, state or local statutory
              law or common law anywhere in the world; or
        (iv) Any other law, ordinance, regulation, statute or common law relating to any communication,
             distribution, publication, sending or transmission via telephone, telephone facsimile machine,
             computer or other telephonic or electronic devices.


All other terms and conditions of this policy remain unchanged.




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RSG 206097 0315
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                   This Endorsement Changes The Policy. Please Read It Carefully.

                                       FULL SEVERABILITY
This endorsement modifies insurance provided under the following:

                   DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                   DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

SECTION V. – CONDITIONS, K. Representations is deleted and replaced by the following:
K. Representations
    The Insured represents that the information, particulars, documents, representations and statements
    contained in the Application are complete, true and accurate; are deemed incorporated into and constituting
    part of this policy; are material to the acceptance of the risk assumed by the Insurer under this policy. This
    policy is issued in reliance upon the truth of such representations. No knowledge or information possessed
    by any Insured will be imputed to any other Insured. If any of the information, particulars, documents,
    representations and statements contained in the Application are untrue, this policy will be void with respect
    to any Insured who knew of such untruth.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                  INSURING AGREEMENT A – SEPARATE LIMIT
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

Notwithstanding anything contained in this policy to the contrary, there shall be an addition to the maximum
aggregate Limit of Liability available under this policy in the amount of $500,000. This amount shall be in addition
to the Limit of Liability as set forth in Item 3. of the Declarations Page and shall be available solely for Loss
resulting from a Claim against any Insured Persons covered under SECTION I. INSURING AGREEMENT A. of
this policy, and shall be subject to the following additional conditions:
(1) Any Loss resulting from a Claim against any Insured Persons covered under SECTION I. INSURING
    AGREEMENT A. of this policy shall first be paid under the Limit of Liability as set forth in Item 3. of the
    Declarations Page, and such Limit of Liability must be completely exhausted by payment of Loss under
    SECTION I. INSURING AGREEMENTS A., B., and/or C. of this policy before Loss shall be paid under the
    additional Limit of Liability dedicated for Insured Persons: and
(2) The additional Limit of Liability dedicated for Insured Persons shall be excess of any insurance available that
    is specifically excess of this policy and such excess insurance must be completely exhausted by payment of
    Loss thereunder before the Insurer shall have any obligation to make any payment on account of the
    additional Limit of Liability dedicated for Insured Persons.
All other terms and conditions of this policy remain unchanged.




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                    This Endorsement Changes The Policy. Please Read It Carefully.

                           INVESTIGATIVE COSTS COVERAGE
This endorsement modifies insurance provided under the following:

                    DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                   DIRECTORS AND OFFICERS LIABILITY POLICY – PRIVATE COMPANY

A. SECTION II. - COVERAGE EXTENSIONS shall be amended to include the following:
    Investigative Costs Coverage
    This policy shall cover Loss arising from all Investigative Costs which the Insured Organization shall
    become legally obligated to pay as a result of a Shareholder Derivative Demand first made during the
    Policy Period or Discovery Period, if applicable, against the Insured Organization for a Wrongful Act of an
    Insured Person.
B. SECTION III. - DEFINITIONS is amended by adding the following with respect to coverage provided by this
   endorsement:
    1. Investigative Costs means reasonable costs, charges, fees (including attorneys’ and experts’ fees) and
       expenses incurred by the Insured Organization, its board of directors or any committee thereof in
       connection with the investigation or evaluation of any Shareholder Derivative Demand; provided,
       however, that Investigative Costs shall not include salaries, wages, benefits, expenses or fees of any
       director, officer or Employee of the Insured Organization.
    2. Shareholder Derivative Demand means any written demand by one or more shareholders of the
       Insured Organization made upon the board of directors of the Insured Organization to bring a
       proceeding in a court of law against any Insured Person for a Wrongful Act.
C. The amount set forth in Item 3. of the Declarations Page shall be the maximum aggregate Limit of Liability for
   all Loss under this policy. Subject to the foregoing, the amount of $250,000 shall be the maximum aggregate
   Limit of Liability of the Insurer for all Investigative Costs. This sublimit shall be part of and not in addition to
   the amount set forth in Item 3. of the Declarations Page.
    No Retention shall apply to Investigative Costs covered under this policy. This provision shall not affect the
    applicability of the Retention amounts stated in Item 4. of the Declarations Page to all other covered Loss
    under this policy.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                 MODIFIED INSURED VS. INSURED EXCLUSION
                       (CARVE BACK FORMER D&O’S)
This endorsement modifies insurance provided under the following:

                   DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

SECTION IV. – EXCLUSIONS, 9. d. is deleted and replaced by the following:
    d. Any Claim brought by any past director, officer, trustee, manager or equivalent executives of the Insured
       Organization who have not served as a director, officer, trustee, manager or equivalent executive for at
       least three (3) years prior to the date such Claim is first made, and if the Claim is brought and maintained
       totally independent of and without the solicitation, assistance, active participation or intervention of the
       Insured Organization or any Insured Person not described in this paragraph 9.d;
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                             SEVERABILITY OF THE ENTITY
This endorsement modifies insurance provided under the following:

                   DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                   DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

SECTION IV. – EXCLUSIONS, the paragraph immediately following EXCLUSION 3., is deleted and replaced by
the following:
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of EXCLUSIONS 1. through 3. above.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                SIDE A AND B NON-RESCINDABLE COVERAGE
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY

Notwithstanding anything contained in this policy to the contrary, the coverage provided under SECTION I.,
INSURING AGREEMENT A. and B. shall be non-rescindable by the Insurer.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                  SUBLIMIT – CREDENTIALING / PEER REVIEW
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

The amount set forth in Item 3. of the Declarations Page shall be the maximum aggregate Limit of Liability for all
Loss under this policy. Subject to the foregoing, the amount of $ 1,000,000 shall be the maximum aggregate
Limit of Liability of the Insurer for Loss under this policy in connection with any Claim alleging, arising out of,
based upon, or attributable to any credentialing and/or peer review activities of any Insured. This sublimit shall
be part of and not in addition to the amount set forth in Item 3. of the Declarations Page.
A Retention in the amount of $ 250,000 shall apply to any Loss arising from any credentialing and/or peer review
activities. Such Retention shall be borne by the Insured, and the Insurer shall only be liable for the amount of
Loss arising from any credentialing and/or peer review activities which is in excess of the above stated Retention
amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered pursuant to Insuring Agreement A of this Policy, the Retention normally applicable to Insuring
Agreement A shall apply to such Claim, and the Retention stated here shall not apply.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

    SUBLIMIT-DEFENSE EXPENSES – WAGE AND HOUR CLAIMS
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY

The amount set forth in Item 3. of the Declarations Page shall be the maximum aggregate Limit of Liability
for all Loss under this policy. Subject to the foregoing, this Policy shall allow up to $50,000 solely for
Defense Expenses in connection with Claims made against any Insured for violation of the Fair Labor
Standards Act or any similar state or local law or regulation specifically governing the payment of wages or
hours worked (“Wage and Hour Claim”). This sublimit shall be part of and not in addition to the amount
set forth in Item 3. of the Declarations Page, and shall not act to create coverage for any form of relief
sought or available in any Wage and Hour Claim.
A Retention in the amount of $150,000 shall apply to any Wage and Hour Claim. Such Retention shall be borne
by the Insured, and the Insurer shall only be liable for the amount of Defense Expenses in excess of the above
stated Retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered pursuant to Insuring Agreement A of this Policy, the Retention normally applicable to Insuring
Agreement A shall apply to such Claim, and the Retention stated here shall not apply.
All other terms and conditions of this policy remain unchanged.




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                   This Endorsement Changes The Policy. Please Read It Carefully.

                         THIRD PARTY LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY – NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY – PRIVATE COMPANY

A. The Insurer shall pay for Loss arising out of or in connection with any Claim made against any
   Insured alleging, arising out of, based upon or attributable to any Third Party Discrimination and/or
   Third Party Harassment.
B. SECTION III. – DEFINITIONS is amended by adding the following with respect to coverage provided
   by this endorsement:
    1. Third Party means any person(s) with whom an Insured interacts.
    2. Third Party Discrimination means any discrimination by an Insured in his or her capacity as such
       against a Third Party based on such Third Party’s race, color, creed, religion, age, gender, national
       origin, sexual orientation or preference, disability, pregnancy or other protected status that is protected
       pursuant to any applicable federal, state or local statute or ordinance.
    3. Third Party Harassment means any type of sexual or gender harassment as well as racial, religious,
       sexual orientation, pregnancy, disability, age, or national origin-based harassment that is by an Insured
       to a Third Party.
C. SECTION III. – DEFINITIONS, F. Employment Practices Wrongful Act is amended to include any
   actual or alleged Third Party Discrimination or Third Party Harassment as defined in paragraphs
   B.2. and B.3. above.
D. A Retention in the amount of $150,000 shall apply to Loss arising from any Third Party Discrimination or
   Third Party Harassment. Such Retention shall be borne by the Insured, and the Insurer shall only be liable
   for the amount of Loss which is in excess of the above stated Retention amount.
    Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for
    any Claim is triggered pursuant to Insuring Agreement A of this Policy, the Retention normally applicable to
    Insuring Agreement A shall apply to such Claim, and the Retention stated here shall not apply.
All other terms and conditions of this policy remain unchanged.




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                    This Endorsement Changes The Policy. Please Read It Carefully.

              THREE (3) YEAR BILATERAL DISCOVERY PERIOD
This endorsement modifies insurance provided under the following:

            DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                  DIRECTORS AND OFFICERS LIABILITY POLICY – PUBLIC COMPANY

SECTION V. - CONDITIONS, H. Discovery Period is deleted and replaced with the following:

If the Insurer shall refuse to renew this policy or the Insured Organization shall cancel or refuse to renew this
policy, the Insured Organization shall have the right, upon payment of seventy-five percent (75%) of the Full
Annual Premium, to a period of three hundred and sixty five (365) days following the effective date of such
cancellation or non-renewal (herein referred to as the “Discovery Period”) in which to give written notice to the
Insurer of any Claim first made against the Insured during said three hundred and sixty five (365) day period for
any Wrongful Act occurring prior to the end of the Policy Period and otherwise covered by this policy. As used
herein, “Full Annual Premium” means the premium stated in Item 5. of the Declarations Page and any additional
premium(s) charged during the Policy Period.
Alternatively, the Insured Organization shall have the right to elect a Discovery Period greater than the three
hundred and sixty five (365) Days referenced above. The following alternative Discovery Period options are as
follows:
 Discovery Period             Additional Premium
 730 Days                     125% of Full Annual Premium
 1,095 Days                   150% of Full Annual Premium

The rights contained in this clause shall terminate unless written notice of such election together with the
additional premium due is received by the Insurer at the address shown on the Declarations Page within thirty
(30) days of the effective date of cancellation or non-renewal.
The Discovery Period is not cancelable and the additional premium charged shall be fully earned at the inception
of the Discovery Period. The Limit of Liability available under the Discovery Period is part of and not in addition to
the Limit of Liability stated in Item 3. of the Declarations Page.
The rights contained in this clause shall not apply in the event of cancellation resulting from non-payment of
premium.
All other terms and conditions of this policy remain unchanged.




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                                   www.RSUIextra.com
              Online Human Resource Loss Prevention Services for
                  Directors and Officers Liability Policyholders

         Key Features
              Best Practice Help Line for call-in assistance
              Checklist database for lowering risk
              Links to important federal and state government sites
              Online library with up-to-date articles on productivity, leadership and loss prevention
              Sample Human Resource policies and forms
              Online reporting function allows the Site Administrator to monitor usage
              Online training modules designed for managers and supervisors with the ability to adapt
              programs to meet their own needs. Best Practice training modules include:
                - Preventing Sexual Harassment
                - Preventing Discrimination
                - Preventing Wrongful Termination
                - Promoting Ethical Behavior

         How to get started
         1.   Designate a person to serve as the Site Administrator for your organization.
         2.   Go to www.RSUIextra.com.
         3.   Click the Register link on the left-hand side of the home page.
         4.   Enter your RSUI policy number as the Passcode/Organization Code (i.e. NHP123456).
         5.   Complete the Registration Information and click Submit.
         6.   You are now registered as the Site Administrator.

         Who is a Site Administrator?
         A Site Administrator is often a person who works with personnel or legal matters and is the
         person who will oversee the use of www.RSUIextra.com. A Site Administrator will have the
         ability to recruit and add other users as well as make training decisions.

         Questions?
         Please click CONTACT US at www.RSUIextra.com on the upper right hand side of the
         home page. You will be directed to The McCalmon Group for assistance.

                               This site is administered by The McCalmon Group.




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                                                                  RSUI Indemnity Company
                                                                  Corporate Office
                                                                  945 East Paces Ferry Rd.
                                                                  Atlanta, GA 30326-1160




    DIRECTORS AND OFFICERS LIABILITY POLICY
              PRIVATE COMPANY




         NOTICE:   THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY TO
                   THOSE CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
                   PERIOD THAT ARE REPORTED TO THE INSURER DURING THE POLICY
                   PERIOD, OR WITHIN SIXTY (60) DAYS THEREAFTER. THE LIMIT OF
                   LIABILITY AVAILABLE TO PAY LOSS SHALL BE REDUCED OR TOTALLY
                   EXHAUSTED BY PAYMENT OF DEFENSE EXPENSES.




                          PLEASE READ YOUR POLICY CAREFULLY



                                  CLAIM NOTICE
                       Mail notices to:   RSUI Group, Inc.
                                          945 East Paces Ferry Rd.
                                          Suite 1800
                                          Atlanta, GA 30326-1160
                       Fax notices to:    (404) 231-3755
                                          Attn: Claims Department
                       E-mail notices to: reportclaims@rsui.com


                                                                    A member of Alleghany Insurance Holdings LLC



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Words and phrases that appear in bold text have special meaning. Refer to SECTION III. - DEFINITIONS.
In consideration of the payment of premium and in reliance upon all statements made to the Insurer in the
Application, and subject to the terms, conditions, definitions, exclusions and limitations hereinafter provided, the
Insurer agrees:
SECTION I. - INSURING AGREEMENTS
A. With the Insured Person that if a Claim for a Wrongful Act is first made against any Insured Person during
   the Policy Period and reported in accordance with SECTION V. – CONDITIONS, C. Notice of Claim or
   Circumstance of this policy, the Insurer will pay on behalf of such Insured Person all Loss such Insured
   Person is legally obligated to pay, except and to the extent that the Insured Organization is required or
   permitted to indemnify such Insured Persons.
B. With the Insured Organization that if a Claim for a Wrongful Act is first made against any Insured Person
   during the Policy Period and reported in accordance with SECTION V. – CONDITIONS, C. Notice of Claim
   or Circumstance of this policy, the Insurer will pay on behalf of the Insured Organization all Loss for which the
   Insured Organization is required or permitted to indemnify the Insured Person.
C. With the Insured Organization that if a Claim for a Wrongful Act is first made against the Insured
   Organization during the Policy Period and reported in accordance with SECTION V. – CONDITIONS, C.
   Notice of Claim or Circumstance of this policy, the Insurer will pay on behalf of the Insured Organization all
   Loss the Insured Organization is legally obligated to pay.
SECTION II. - COVERAGE EXTENSIONS
A. Marital Estate
    This policy shall cover Loss arising from any Claim made against the lawful spouse or any legally recognized
    domestic partner of an Insured Person for Claims arising solely out of his or her status as the spouse or
    domestic partner of an Insured Person (where such status is derived by reason of statutory law or common
    law) where such Insured Person is entitled to coverage under this policy. Such coverage shall extend to any
    Claim in which a recovery is sought from marital community property, property jointly held by the Insured
    Person and the spouse or domestic partner, or property transferred from the Insured Person to the spouse
    or domestic partner.
    Provided, however, that this COVERAGE EXTENSION shall not extend coverage to any Claim for, arising
    from, based upon or attributable to any actual or alleged Wrongful Act of the spouse or domestic partner.
B. Outside Board Extension
    This policy shall cover Loss arising from an lnsured Person having served, at the direction of and with the
    consent of the Insured Organization, as Director, Officer, or Trustee for any eleemosynary corporation or
    other not for profit organization where such Insured Person is entitled to indemnification by the Insured
    Organization.
    This COVERAGE EXTENSION shall be excess of any indemnification and/or insurance that may be permitted
    or provided by such eleemosynary corporation or organization, regardless of payment made by or on behalf of
    such eleemosynary corporation or organization, including but not limited to any other Director and Officer
    Liability Insurance or similar insurance provided for, to, or by any such eleemosynary corporation or
    organization.
C. Estates and Legal Representatives
    This policy shall cover Loss arising from any Claim made against the estates, heirs, legal representatives or
    assigns of an Insured Person who is deceased, or against the legal representatives or assigns of an Insured
    Person who is incompetent, insolvent or bankrupt, for the Wrongful Act of such Insured Person.
SECTION III. - DEFINITIONS
A. Application means the application attached to and forming a part of this policy, or any prior policy, including
   any materials submitted or requested in connection with such application, all of which are deemed a part of
   this policy.
B. Claim, either in the singular or the plural, means:
    1. A written demand for monetary or non-monetary relief;
    2. A civil, criminal, administrative, regulatory or arbitration proceeding for monetary or non-monetary relief
       which is commenced by:
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       a. Receipt or service of a complaint or similar pleading;
       b. Return of an indictment (in case of a criminal proceeding); or
       c. Receipt of a notice of charges;
   3. An administrative or regulatory investigation when conducted by the Equal Employment Opportunity
      Commission (“EEOC”) or equivalent state, local or foreign agency, which is commenced by the filing of a
      notice of charges, service of a complaint or similar document of which notice has been given to the
      Insured.
   The DEFINITION of Claim shall include an Employment Practices Claim; provided, the DEFINITION of
   Claim shall not include any internal or external labor or grievance proceeding which is pursuant to a collective
   bargaining agreement.
C. Defense Expenses means reasonable and necessary legal fees and expenses incurred, with the
   Insurer’s consent, by any Insured in defense of a Claim, including any appeal therefrom. Defense
   Expenses however, shall not include:
   1. Remuneration, overhead or benefit expenses associated with any Insured Person; or
   2. Any obligation to apply for or furnish any appellate or similar bond.
D. Employee means any past, present or future employee of the Insured Organization, whether such
   employee is in a supervisory, co-worker or subordinate position or otherwise, including any full-time, part-
   time, seasonal and temporary employee of the Insured Organization. An individual who is leased or
   contracted to the Insured Organization shall also be an Employee, but only if the Insured Organization
   provides indemnification to such leased or contracted individual in the same manner as is provided to the
   Insured Organization’s employees.
E. Employment Practices Claim means any Claim alleging an Employment Practices Wrongful Act.
F. Employment Practices Wrongful Act means any actual or alleged:
   1. Wrongful dismissal, discharge or termination (either actual or constructive) of employment, including
      breach of an implied employment contract;
   2. Employment related harassment (including but not limited to sexual harassment);
   3. Employment related discrimination (including but not limited to discrimination based upon age, gender,
      race, color, national origin, religion, sexual orientation or preference, pregnancy or disability);
   4. Employment-related retaliation;
   5. Employment-related misrepresentation to an Employee or applicant for employment with the Insured
      Organization;
   6. Employment-related libel, slander, humiliation, defamation and/or invasion of privacy;
   7. Wrongful failure to employ or promote;
   8. Wrongful deprivation of career opportunity, wrongful demotion or negligent Employee evaluation,
      including the giving of defamatory statements in connection with an Employee reference;
   9. Employment related wrongful discipline;
  10. Failure to grant tenure or practice privileges;
  11. Failure to provide or enforce adequate or consistent organization policies or procedures relating to
      employment performance;
  12. Violations of the following federal laws (as amended) including all regulations promulgated thereunder:
       a. Family and Medical Leave Act of 1993;
       b. Americans with Disabilities Act of 1992 (ADA);
       c. Civil Rights Act of 1991;
       d. Age Discrimination in Employment Act of 1967 (ADEA), including the Older Workers Benefit
          Protection Act of 1990; or




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         e. Title VII of the Civil Rights Law of 1964 (as amended) and 42 U.S.C. Section 1983, as well as the
            Pregnancy Discrimination Act of 1978;
     13. Violation of an Insured Person’s civil rights relating to any of the above; or
     14. Negligent hiring, retention, training or supervision, infliction of emotional distress, or violation of an
         individual’s civil rights, when alleged in conjunction with any of the foregoing items 1. through 13.,
     whether such Employment Practices Wrongful Act as described in 1-14 above is committed directly,
     indirectly, intentionally or unintentionally, but only if the Employment Practices Wrongful Act actually or
     allegedly pertains to acts committed by an Insured and are alleged against an Insured by an Insured
     Person or applicant for employment with the Insured Organization.
G. Insured means any Insured Organization and/or any Insured Person.
H. Insured Organization means:
     1. The organization named in Item 1. of the Declarations Page and any Subsidiary existing prior to or at
        the inception date of this policy; or
     2. Subject to SECTION V. - CONDITIONS, I. Merger, Consolidation or Acquisition of this policy, Insured
        Organization shall mean any Subsidiary created or acquired after the inception date of this policy; or
     3. In the event a bankruptcy proceeding shall be instituted by or against the foregoing entities, the resulting
        debtor-in-possession (or equivalent status outside the United States), if any.
I.   Insured Person means
     1. Any past, present or future director, officer, or Employee, management committee members or members
        of the Board of Managers of the Insured Organization; or
     2. In the event the Insured Organization or a Subsidiary thereof operates outside the United States, then
        the term Insured Person also means those titles, positions or capacities for such foreign Insured
        Organization or Subsidiary that are equivalent to the positions of directors or officers in the United
        States.
J. Insurer means the Company providing this insurance as shown on the Declarations Page.
K. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and post-
   judgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense Expenses)
   shall not include:
     1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
        Insureds;
     2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
        other type of contract;
     3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
        payments, or settlement amounts representing employment related benefit payments;
     4. The cost of creating or reinstating employment;
     5. Any amounts owed to any Employee as wages or compensation previously incurred or vested without
        regard to any Claim;
     6. Civil or criminal fines or penalties;
     7. Taxes, whether owed to or by any Insured;
     8. Amounts, including Defense Expenses, arising out of, based upon or attributable to actual or alleged
        liability or costs incurred by any Insured to modify any building or property in order to make such building
        or property more accessible or accommodating to any disabled person, or any actual or alleged liability or
        costs incurred in connection with any educational, sensitivity or other corporate program, policy or
        seminar relating to an Employment Practices Claim;
     9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
     The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
     multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
     damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
     by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
     most favorable to the Insured in that regard.

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L. Policy Period means the period beginning at the inception date and ending at the expiration date stated in
   Item 2. of the Declarations Page or to any earlier policy cancellation or termination date.
M. Subsidiary means any entity of which the Insured Organization, either directly or indirectly, or through one
   or more of its Subsidiaries:
    1. Owns more than fifty percent (50%) of the voting stock and/or outstanding securities; or
    2. Has the right to elect or appoint more than fifty percent (50%) of the voting directors, management
       committee members or members of the Board of Managers.
    A Subsidiary ceases to be a Subsidiary when the Insured Organization no longer owns more than fifty
    percent (50%) of the voting stock and/or outstanding securities, or no longer has the right to elect or appoint
    more than fifty percent (50%) of the voting directors, management committee members or members of the
    Board of Managers, or the means by which the Insured Organization is legally enabled to exercise fifty
    percent (50%) ownership or control is formally extinguished.
N. Wrongful Act means any actual or alleged act, error, omission, misstatement, misleading statement, neglect
   or breach of duty or any actual or alleged Employment Practices Wrongful Act, by:
    1. An Insured Person acting in his or her capacity as such and on behalf of the Insured Organization or
       any matter claimed against them solely by reason of their status as an Insured Person; or
    2. The Insured Organization.
SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Based upon, arising out of or attributable to any remuneration received by an Insured, or the granting of any
   remuneration to any Insured, without the previous approval of the stockholders or the Board of Directors,
   which remuneration is found to have been illegal; provided, this EXCLUSION shall not apply unless a
   judgment or other final adjudication adverse to any Insured in the Claim shall establish that such Insured
   received remuneration to which such Insured was not legally entitled;
2. Based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way involving
   the gaining of any profit or advantage to which an Insured was not legally entitled; provided, this
   EXCLUSION shall not apply unless a judgment or other final adjudication adverse to any Insured in the
   Claim shall establish that such Insured gained profit or advantage to which such Insured was not legally entitled;
3. Based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way involving
   any criminal or deliberate fraudulent act; provided, this EXCLUSION shall not apply unless a judgment or
   other final adjudication adverse to any Insured in the Claim shall establish that such Insured committed such
   criminal or fraudulent act;
The Wrongful Act of an Insured Person shall not be imputed to any other Insured Person for the purpose of
determining the applicability of EXCLUSIONS 1. through 3. above.
4. For actual or alleged bodily injury, sickness, disease or death of any person, mental anguish or emotional
   distress; damage to or destruction of any tangible property, including loss of use thereof, whether or not such
   property is physically injured; provided, this EXCLUSION shall not apply to allegations of mental anguish or
   emotional distress made solely in connection with an Employment Practices Claim;
5. For actual or alleged libel, slander or defamation in any form; provided, this EXCLUSION shall not apply to
   allegations of libel, slander or defamation in any form made solely in connection with an Employment
   Practices Claim;
6. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the Employee Retirement
   Income Security Act of 1974; the National Labor Relations Act; the Worker Adjustment and Retraining
   Notification Act; the Consolidated Omnibus Budget Reconciliation Act; the Occupational Safety and Health
   Act; any rules or regulations of any of the foregoing promulgated thereunder and amendments thereto; or any
   similar provisions of any federal, state or local statutory or common law that govern the same subject matter
   governed by the laws referenced in this section even if particular laws have some additional or different
   provisions; provided, this EXCLUSION shall not apply to Loss arising from a Claim for employment related
   retaliation;

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7. Alleging, arising out of, based upon or attributable to any obligation pursuant to any workers’ compensation,
   disability benefits, unemployment compensation, unemployment insurance, retirement benefits, social
   security benefits or similar law; provided, this EXCLUSION shall not apply to Loss arising from a Claim for
   employment related retaliation;
8. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any
   direction or request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants,
   including but not limited to Claims alleging damage to the Insured Organization; provided, this
   EXCLUSION shall not apply to any Claim under SECTION I. - INSURING AGREEMENT A. of this policy.
    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant,
    whether live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste.
    Waste includes (but is not limited to) materials to be recycled, reconditioned or reclaimed;
9. Brought by or on behalf of any Insured, or which is brought by any security holder of the Insured
   Organization, whether directly or derivatively, unless such Claim is instigated and continued totally
   independent of, and totally without the solicitation of, or assistance of, or active participation of, or intervention
   of, any Insured. Provided, however, this EXCLUSION shall not apply to:
    a. Any Claim brought by an Insured Person, where such Claim is in the form of a cross-claim or a third-
       party claim for contribution or indemnity, which is part of and results directly from a Claim that is not
       otherwise excluded by the terms of this policy;
    b. An Employment Practices Claim brought by an Insured Person;
    c. Any Claim brought by the examiner, trustee, receiver, liquidator or rehabilitator (or any assignee thereof)
       of such Insured Organization, in or after any bankruptcy proceeding by or against an Insured
       Organization;
    d. Any Claim brought by any past director, officer, trustee, manager or equivalent executives of the Insured
       Organization who have not served as a director, officer, trustee, manager or equivalent executive for at
       least five (5) years prior to the date such Claim is first made, and if the Claim is brought and maintained
       totally independent of and without the solicitation, assistance, active participation or intervention of the
       Insured Organization or any Insured Person not described in this paragraph 9.d;
    e. Any Claim brought by an Employee of the Insured Organization who is not or was not a director or
       officer of the Insured Organization and where such Claim is brought by such Employee only in their
       capacity as a stockholder and independently of assistance from Insureds expressly as noted in section
       9., above; or
    f.   Any instigation of or involvement in any Claim, or solicitation, assistance, active participation or
         intervention by any Insured whistleblower under Section 806 of the Sarbanes-Oxley Act of 2002 or any
         rule or regulation promulgated thereunder, or under any similar whistleblower statute, rule or regulation
         under any other federal or state law.
    Provided further, however, that in the event that an Insured Person brings a cross-claim or third-party claim,
    as described in 9. a. above, against another Insured Person, then solely with respect to the Loss derived
    from a cross-claim or third-party claim, the Insurer shall be liable solely for Defense Expenses;
10. Alleging, arising out of, based upon or attributable to, in whole or part, any litigation involving any Insured that
    was commenced or initiated prior to, or was pending at the inception date of this policy, or arising out of or
    based upon, in whole or in part, any facts or circumstances underlying or alleged in any such prior or pending
    litigation;
11. Alleging, arising out of, based upon or attributable to, directly or indirectly, the same or essentially the same
    facts underlying or alleged in any matter which, prior to the inception date of this policy, has been the
    subject of notice to any insurer of a Claim, or a potential or threatened Claim, or an occurrence or
    circumstance that might give rise to a Claim under any policy of which this insurance is a renewal or
    replacement or which it may succeed in time;
12. Alleging, arising out of, based upon or attributable to any initial public offering of securities by the Insured
    Organization or alleging the purchase or sale of such securities subsequent to such offering;




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13. With respect to INSURING AGREEMENT C. of this policy, only:
   a. For actual or alleged plagiarism, misappropriation, infringement or violation of copyright, patent,
      trademark, secret or any other intellectual property rights;
   b. For actual or alleged violation of any law, whether statutory, regulatory or common law, with respect to
      any of the following activities: anti-trust, business competition, unfair trade practices or tortuous
      interference in another’s business or contractual relationships; or
   c. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to
      any contract or agreement, whether oral, written, express or implied, including the liability of others
      assumed by an Insured, unless such Insured would have been liable in the absence of such contract or
      agreement; provided, this EXCLUSION shall not apply to Defense Expenses in connection with an
      Employment Practices Claim.
SECTION V. - CONDITIONS
A. Duty to Defend
   It shall be the right and duty of the Insurer to defend any Claim against the Insured for which coverage
   applies under this policy, and the Insurer shall have the right to appoint counsel of it choosing. No Insured
   may incur any Defense Expenses, admit liability for or settle any Claim or negotiate any settlement without
   the Insurer’s prior written consent; such consent not to be unreasonably withheld. Any Defense Expenses
   incurred or settlements made without the prior written consent of the Insurer will not be covered under this
   policy. The Insurer shall have the right to appoint counsel, investigate and conduct negotiations and, with the
   consent of the Insured, to enter into the settlement of any Claim that the Insurer deems appropriate. If the
   Insured refuses to consent to a settlement acceptable to the claimant in accordance with the Insurer’s
   recommendations;
   1. The Insured will thereafter be solely responsible for negotiating and defending such Claim at their own
      expense; and
   2. Subject to the Insurer’s aggregate Limit of Liability stated in Item 3. of the Declarations Page, the
      Insurer’s liability with respect of any such Claim will not exceed the amount for which such Claim could
      have been settled by the Insurer, including Defense Expenses incurred up to and until the time that the
      Insured refuses to consent to settlement.
B. Limit of Liability; Retention; Payment of Loss
   1. The Limit of Liability stated in Item 3. of the Declarations Page is the maximum aggregate limit that the
      Insurer will pay for all Loss under all INSURING AGREEMENTS combined, arising out of any and all
      Claims first made against the Insured during the Policy Period and the Discovery Period (if purchased)
      and reported in accordance with the terms and conditions of this policy.
       The Insurer will have no obligation to pay Loss or to defend or continue to defend any Claim after the
       aggregate Limit of Liability, stated in Item 3. of the Declarations Page, has been exhausted by payment of
       Loss. Defense Expenses shall be part of and not in addition to the Limit of Liability and payment of
       Defense Expenses by the Insurer will reduce the Limit of Liability.
   2. As a condition precedent to coverage under this policy, the Insured shall pay with respect to each Claim
      the applicable Retention amount, as identified in Item 4. of the Declarations Page. The Retention amount
      shall be reduced solely by covered Loss and shall be applied to all Loss, including Defense Expenses,
      and the Insurer shall only be liable for the amount of Loss that is excess of the stated Retention amount.
   3. All Claims based on, arising out of, directly or indirectly resulting from, in consequence of, or in any
      way involving the same or related facts, circumstances, situations, transactions or events, or the same or
      related series of facts, circumstances, situations, transactions or events, shall be deemed to be a
      single Claim for all purposes under this policy, shall be subject to the Retention stated in Item 4. of
      the Declarations Page, and shall be deemed first made when the earliest of such Claims is first
      made, regardless of whether such date is before or during the Policy Period.
   4. In the event that a Claim implicates more than one of the Retention amounts stated in Item 4. of the
      Declarations Page, then the largest of the applicable Retention amounts shall be applied, but in no event
      shall more than one Retention amount be applied to a Claim.




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   5. The Retention amount applicable to SECTION I. - INSURING AGREEMENT A. of this policy, as stated in
      Item 4. of the Declarations Page, shall not be applicable under any circumstances where indemnification
      by the Insured Organization is permitted or required, regardless of whether the Insured Organization
      has agreed to indemnify an Insured Person, provided it shall apply when indemnification cannot be
      made by the Insured Organization by reason of the Insured Organization’s financial insolvency.
   6. The Insurer’s duty to defend the Insured and pay Defense Expenses ends upon exhaustion of
      the Limit of Liability, which includes paying or tendering the Limit of Liability into court.
   7. Except for payment of Defense Expenses, the Insurer shall pay for Loss only upon final disposition of
      any Claim.
C. Notice of Claim or Circumstance
   1. If, during the Policy Period or Discovery Period (if applicable), any Claim is first made, it shall be a
      condition precedent to the Insurer’s obligation to pay, that the Insured give written notice of such Claim
      to the Insurer as soon as practicable after such Claim is first made, but in no event shall such notice be
      given later than sixty (60) days after either the expiration date or any earlier cancellation date of this
      policy.
   2. If, during the Policy Period or Discovery Period (if applicable), any Insured first becomes aware of any
      facts or circumstances which may reasonably be expected to give rise to a Claim against any Insured
      and, as soon as practicable thereafter, but before the expiration date or any earlier cancellation date of
      this policy, gives to the Insurer written notice, of such facts or circumstances along with the full
      particulars described below, then any Claim subsequently made against any Insured arising out of
      such facts or circumstances will be deemed first made during the Policy Period. The written notice
      shall include, at a minimum:
       a. The names or identity of the potential claimants and a detailed description of the specific alleged
          Wrongful Act; and
       b. The circumstances by which the Insured first became aware of the specific alleged Wrongful Act.
D. Cooperation
   In the event of a Claim or notice of circumstances under SECTION V. - CONDITIONS, C. Notice of Claim or
   Circumstance of this policy, the Insured will provide the Insurer with all information, assistance and
   cooperation that the Insurer reasonably requests, and will take no action, without the Insurer’s prior
   written consent, that might prejudice the Insured’s or the Insurer’s position, potential or actual rights, or
   defense under this policy.
E. Other Insurance and Indemnification
   Insurance provided by this policy shall apply only as excess over any other valid and collectible
   insurance, unless such other insurance is written only as specific excess insurance over the Limit of
   Liability provided by this policy. This policy shall be specifically excess over any other valid and
   collectible insurance pursuant to which any other insurer has a duty to defend a Claim for which this
   policy may be obligated to pay Loss.
F. Allocation
   If both Loss covered under this policy and loss not covered under this policy are jointly incurred either
   because a Claim includes both covered and non-covered matters or covered and non-covered causes of
   action or because a Claim is made against both an Insured and any other parties not insured by this policy,
   then the Insured and the Insurer shall use their best efforts to fairly and reasonably allocate payment under
   this policy between covered Loss and non-covered loss based on the relative legal exposures of the parties
   with respect to covered and non-covered matters or covered and non-covered causes of action.
   If the Insurer and the Insured agree on an allocation of Defense Expenses, based on covered and non
   covered matters or persons, the Insurer shall advance Defense Expenses allocated to covered Loss. If
   there is no agreement on an allocation of Defense Expenses, the Insurer shall advance Defense Expenses
   that the Insurer believes to be covered under this policy until a different allocation is negotiated, arbitrated, or
   judicially determined.
   Any negotiated, arbitrated or judicially determined allocation of Defense Expenses on account of a Claim
   shall be applied retroactively to all Defense Expenses on account of such Claim, notwithstanding any prior
   advancement to the contrary. Any advancement or allocation of Defense Expenses on account of a Claim
   shall not apply to or create any presumption with respect to the allocation of other loss on account of such Claim.

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G. Cancellation; Renewal Provision
     The Insured Organization may cancel this policy at any time by written notice or by surrender of this policy
     to the Insurer at the address shown on the Declarations Page.
     This policy may only be cancelled by or on behalf of the Insurer in the event the Insured Organization fails
     to pay any premium when due. In the event of non-payment of premium by the Insured Organization, the
     Insurer may cancel this policy upon ten (10) days written notice. The Insurer will mail notice to the Insured
     Organization’s address as shown in Item 1. of the Declarations Page. The mailing of such notice as
     aforesaid shall be sufficient proof of notice.
     If the Insured Organization cancels this policy, the Insurer will retain the customary short rate proportion of
     the premium hereon.
     The Insurer shall not be required to renew this policy upon its expiration. The offer by the Insurer of renewal
     terms, conditions, Limit of Liability and/or premiums varying from those of the expiring policy shall not
     constitute a refusal to renew.
     If the Insurer decides not to renew this policy, the Insurer will mail or deliver to the Insured Organization
     written notice of non-renewal, stating the reasons for non-renewal, at least sixty (60) days prior to the
     expiration date of this policy.
     Any notice of non-renewal will be mailed or delivered to the Insured Organization’s last mailing address
     known to the Insurer. If notice is mailed, proof of mailing will be sufficient proof of notice.
H. Discovery Period
     If the Insurer shall refuse to renew this policy or the Insured Organization shall cancel or refuse to renew
     this policy, the Insured Organization shall have the right, upon payment of seventy five percent (75%) of the
     Full Annual Premium, to a period of three hundred and sixty five (365) days following the effective date of
     such cancellation or nonrenewal (herein referred to as the “Discovery Period”) in which to give written notice
     to the Insurer of any Claim first made against the Insured during said three hundred and sixty five (365) day
     period for any Wrongful Act occurring prior to the end of the Policy Period and otherwise covered by this
     policy. As used herein, “Full Annual Premium” means the premium stated in Item 5. of the Declarations Page
     and any additional premium(s) charged during the Policy Period. The rights contained in this clause shall
     terminate unless written notice of such election together with the additional premium due is received by the
     Insurer at the address shown on the Declarations Page within thirty (30) days of the effective date of
     cancellation or nonrenewal.
     The Discovery Period is not cancelable and the additional premium charged shall be fully earned at the
     inception of the Discovery Period.
     The Limit of Liability available under the Discovery Period is part of and not in addition to the Limit of Liability
     stated in Item 3. of the Declarations Page.
     The rights contained in this clause shall not apply in the event of cancellation resulting from non-payment of
     premium.
I.   Merger, Consolidation or Acquisition
     1. If, after this policy’s inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets do not exceed twenty five percent (25%) of the total consolidated assets of the Insured
        Organization, not including the assets of the created or acquired Subsidiary, such Subsidiary shall be
        deemed to qualify as an Insured Organization, but solely for a Wrongful Act that takes place on or after
        the effective date of such creation or acquisition.
     2. If, after this policy’s inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets exceed twenty five percent (25%) of the total consolidated assets of the Insured Organization,
        not including the assets of the created or acquired Subsidiary, such Subsidiary shall be deemed to
        qualify as an Insured Organization, but solely for a Wrongful Act that takes place within the first ninety
        (90) days after the date of such creation or acquisition. After this ninety (90) day period, the created or
        acquired Subsidiary shall no longer be deemed an Insured Organization, unless:
         a. Written notice of the Subsidiary’s creation or acquisition has been provided to the Insurer by the
            Insured Organization, as soon as practicable, and in no event later than ninety (90) days after the
            date of the creation or acquisition;



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       b. The Insured Organization has provided the Insurer with any additional information the Insurer may
          request;
       c. The Insured Organization has agreed to the terms, conditions, exclusions and additional premium
          charge as may be required by the Insurer; and
       d. The Insurer, at its sole discretion, has agreed in writing to extend the coverage of this policy to the
          created or acquired Subsidiary.
   3. If during the Policy Period:
       a. The Insured Organization shall consolidate with or merge into, or sell all or substantially all of its
          assets to any other person or entity or group of persons or entities acting in concert; or
       b. Any person or entity or group of persons or entities acting in concert shall acquire an amount of more
          than fifty percent (50%) of the voting power for the election of directors of the Insured Organization;
                (either of the above events in 3. a. or b. are hereunder referred to as the “Transaction”),
       then this policy shall continue in full force and effect for any Wrongful Act occurring prior to the effective
       time of the Transaction, but there shall be no coverage afforded by any provision of this policy for any
       actual or alleged Wrongful Act occurring after the effective time of the Transaction. This policy may not
       be cancelled after the effective time of the Transaction and the premium for this policy shall be deemed
       fully earned as of such time.
       The Insured Organization shall give the Insurer written notice of the Transaction as soon as practicable,
       but not later than thirty (30) days after the effective date of the Transaction.
J. Bankruptcy and Priority of Payments
   The bankruptcy or insolvency of the Insured Organization or any Subsidiary shall not relieve the Insurer of
   any of its obligations hereunder. The coverage provided by this policy, however, is intended primarily to
   protect and benefit the Insured Persons.
   With respect to the payment of the policy proceeds, it is agreed that covered Loss due under this policy shall
   be paid by the Insurer in the following order of priority:
   1. First pay such Loss for which coverage is provided under INSURING AGREEMENT A. of this policy;
   2. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
      pay Loss for which coverage is provided under INSURING AGREEMENT B. of this policy; and
   3. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
      pay Loss for which coverage is provided under INSURING AGREEMENT C. of this policy.
   The Insured Organization or its representatives and the Insurer shall use their best efforts to agree upon
   the priority of payment of all Loss under this policy. If no agreement is reached regarding the priority of
   payments, then the Insurer and Insured Organization will submit the issue of such priority, and only that
   issue, to binding arbitration.
K. Representations
   The Insured represents that as of the inception date of this policy, the information, particulars, documents,
   representations and statements contained in, attached or referred to in the Application are: complete, true
   and correct; are the basis of this policy; are deemed incorporated into and constituting part of this policy;
   and are material to the acceptance of the risk assumed by the Insurer. This policy is issued in reliance
   upon the truthfulness and completeness of such information, particulars, documents, representations
   and statements. Except for knowledge or information possessed by, or facts or circumstances pertaining to
   the person or persons who signed the Application, no statement or representation in the Application or
   knowledge or information possessed by an Insured Person will be imputed to any other Insured Person
   for the purpose of determining the existence or availability of coverage under this policy.
L. No Action Against Insurer
   No action may be taken against the Insurer unless, as a condition precedent thereto, there has been full
   compliance with all of the terms and conditions of this policy and until the amount of any Insured’s
   obligation to pay Loss has been finally determined either by judgment against such Insured after
   adjudicatory proceedings, or by written agreement of the Insured, the claimant and the Insurer.



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    No Insured has any right under this policy to join the Insurer as a party to any Claim against an Insured
    to determine the liability of such Insured, nor shall the Insurer be impleaded by an Insured or his, her or its
    legal representative in any such Claim.
M. Subrogation
    In the event the Insurer makes any payment under this Policy, the Insurer shall be subrogated to all of the
    rights of recovery of the Insured, who shall execute all papers and take all necessary actions to secure such
    rights, including the execution of any documents necessary to enable the Insurer to effectively bring suit in
    the name of an Insured.
N. Authorization and Notices
    The Insured Persons agrees that the Insured Organization acts on their behalf with respect to giving and
    receiving all notices and return of premium from the Insurer.
O. Changes
    Notice to any agent or knowledge possessed by any agent or representations by persons acting on
    behalf of the Insurer do not effect a waiver or change in any part of this policy or estop the Insurer
    from asserting any right under the terms, conditions and limitations of this policy. The terms, conditions
    and limitations of this policy can only be waived or changed by written endorsement.
P. Assignment
    Assignment of interest under this policy does not bind the Insurer without its prior written consent.
Q. Acceptance
    The Insureds agree that this policy, including the Application and any endorsements, constitutes the entire
    agreement between them and the Insurer relating to this insurance policy.
R. Headings
    The description in the headings and sub-headings of this policy are solely for convenience, and form no
    part of the terms and conditions of coverage.
S. Governing Law Clause
    This policy shall, to the extent permitted by applicable law, be construed in accordance with the laws of
    the state or jurisdiction of incorporation or organization of the Insured Organization or, in the case of matters
    pertaining to a Subsidiary, the laws of the state or jurisdiction of incorporation or organization thereof.
T. Territory
    This policy shall apply to Claims made against any Insured anywhere in the world.
In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.




                          Secretary                                                      President




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                THIS EXCLUSION CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                   NUCLEAR ENERGY LIABILITY EXCLUSION
1. Nuclear Exclusion
   It is agreed that this policy does not apply:
   a. Under any Liability coverage, to injury, disease, death or destruction:
       (1) With respect to which an Insured under this policy is also an Insured under a nuclear energy liability
           policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability
           Underwriters or Nuclear Insurance Association of Canada, or would be an Insured under any such
           policy but for its termination upon exhaustion of its Limit of Liability; or
       (2) Resulting from the hazardous properties of nuclear material and with respect to which:
           (a) Any person or organization is required to maintain financial protection pursuant to the atomic
               Energy Act of 1954, or any law amendatory thereof; or
           (b) The Insured is or had this policy not been issued would be, entitled to indemnity from the United
               States of America, or any agency thereof, with any person or organization.
   b. Under any Medical Payments Coverage, or under any Supplementary Payments provision relating to
      immediate medical or surgical relief, to expenses incurred with respect to bodily injury, sickness, disease
      or death resulting from the hazardous properties of a nuclear facility by any person or organization.
   c. Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting from the
      hazardous properties of nuclear material, if:
       (1) The nuclear material:
           (a) Is at any nuclear facility owned by, or operated by or on behalf of an Insured; or
           (b) Has been discharged or dispersed there from;
       (2) The nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
           processed, stored, transported or disposed of by or on behalf of an Insured; or
       (3) The injury, sickness, disease, death or destruction arises out of the furnishing by an Insured or
           services, materials, parts or equipment in connection with the planning, construction, maintenance,
           operation or use of any nuclear facility, but if such facility is located within the United States of
           America, its territories or possessions or Canada, this Exclusion applies only to injury to or
           destruction of property at such nuclear facility.
   d. As used in this Exclusion:
       (1) Hazardous properties include radioactive, toxic or explosive properties;
       (2) Nuclear material means source material, special material or byproduct material;
       (3) Source material, special nuclear material and byproduct material have the meanings given them
           in the Atomic Energy Act of 1954 or in any law amendatory thereof;
       (4) Spent Fuel means any fuel element or fuel component, solid or liquid, which has been used or
           exposed to radiation in a nuclear reactor;
       (5) Waste means any waste material:
           (a) Containing byproduct material; and
           (b) Resulting from the operation by any person or organization of any nuclear facility included within
               the definition of nuclear facility under paragraph (a) or (b) thereof;
       (6) Nuclear Facility means:
           (a) Any nuclear reactor;
           (b) Any equipment or device designed or used for;
                i.   Separating the isotopes of uranium or plutonium;




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              ii. Processing or utilizing spent fuel; or
              iii. Handling, processing or packaging waste;
          (c) Any equipment or device used for the processing, fabricating or alloying of special nuclear
              material if at any time the total amount of such material in the custody of the Insured at the
              premises where such equipment or device is located consists of or contains more than 25 grams
              of plutonium or uranium 233 or any combination thereof, or more than 250 grams of uranium 235;
          (d) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal
              of waste,
          and includes the site on which any of the foregoing is located, all operations conducted on such site
          and all premises used for such operations;
      e. Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-
         supporting chain reaction or destruction of property, the word injury or destruction includes all forms
         of radioactive contamination of property.




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